






 TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00163-CV






In re Jay-Bird Johnston






ORIGINAL PROCEEDING FROM TRAVIS COUNTY




	

M E M O R A N D U M   O P I N I O N



	Relator has filed a petition for writ of mandamus, complaining of the trial court's
failure to act on his motion for new trial.  See Tex. R. App. P. 52.8.  We deny the petition for writ
of mandamus.  


					__________________________________________					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Filed:   April 9, 2010


